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     C.C. and D.A.C., Petitioners  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child: A.J.C. No. 25SC72Supreme Court of Colorado, En BancMarch 17, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA814
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petitions
      for Writ of Certiorari DENIED.
    